Case 1:04-cv-01128-.]DT-STA Document 3 Filed 08/16/05 Page 1 of 8 Page|D 1

\fo "
5
054 F\y
IN THE UNlTED STATES DISTRICT COURT U@/

 

\
FoR THE WESTERN DISTRICT oF TENNESSE§ 5 O~Q
EASTERN DIVISIoN 1 ;§ w ,
/\ §§

/~
JOHN ALLEN HESSMER, §
ll
Petitioner, §
ll

VS. §§ No. 04~1128-T/An

ll
VIRGINIA LEWIS, §
ll
Respondent. §§

 

ORDER TO CORRECT THE DOCKET
ORDER OF DISMISSAL
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH
AND
NOTICE OF APPELLATE FILING FEE

 

Petitioner John Allen Hessmer, Tennessee Department of Corrections (“TDOC”)
prisoner number 314971, Who is currently an inmate at the Southeastern Tennessee State
Regional Correctional Facility (“STSRCF”)1 in Pikeville, Tennessee, filed a petition
pursuant to 28 U.S.C. § 2254 on June 7, 2004 in connection with his previous confinement
at the Whiteville Correctional Facility (“WCF”) in Whiteville, Tennessee. Petitioner paid
the habeas filing fee. The Clerk of Court shall record the respondent as STSRCF Warden
Virginia Lewis, and shall delete Stephen Dotson as a party to this action. The Clerk shall

also modify the docket to reflect that plaintiff S address is the STSRCF.

 

l Although Hessmer has not advised the Court ofa change of address, his current location is available

from the TDOC website.

This document entered on the docket sheet tn compliance §
with Rule 58 and,'or,79 (a) FHCP on d -' j

Case 1:04-cv-01128-.]DT-STA Document 3 Filed 08/16/05 Page 2 of 8 Page|D 2

In this petition, which Hessmer characterizes as a “habeas corpus horse of a different
color,” the petitioner contends that the WCF affords him insufficient access to legal
materials, a typewriter, and legal-size envelopes that are necessary to enable him to litigate
his various cases, including “‘3’ cases pending in the Sixth Circuit, one case pending in the
Tn.Sup.Ct. [sic], and a pending (40) yr. charge in state criminal court.” The plaintiff seeks
a transfer to a TDOC facility.

As a preliminary matter, the petition appears to be moot as Hessmer has been
transferred to a TDOC facility. This ground, standing alone, is sufficient to warrant
dismissal of this petition. Indeed, the fact that Hessmer chose not to notify the Clerk of his
new address suggests that he has abandoned the petition because he has obtained the relief
sought.

Moreover, it is necessary to consider whether this claim can be brought in a petition
pursuant to 28 U.S.C. § 2254 or whether it can only be raised in an action pursuant to 42
U.S.C. § 1983. Section 2254(a) provides that a federal judge

shall entertain an application for a writ of habeas corpus in behalf of a person

in custody pursuant to the judgment of a State court only on the ground that

he is in custody in violation of the Constitution or laws or treaties of the

United States.

“lt is clear, not only from the language of §§ 224l(c)(3) and 2254(a), but also from the
common~law history of the writ, that the essence of habeas corpus is an attack by a person

in custody upon the legality of that custody, and that the traditional function of the writ is

to secure release from illegal custody.” Preiser v. Rodriguez, 41 l U.S. 475, 484 (1973). As

Case 1:04-cv-01128-.]DT-STA Document 3 Filed 08/16/05 Page 3 of 8 Page|D 3

the Supreme Court explained:

The original view of a habeas corpus attack upon detention under a
judicial order was a limited one. Tbe relevant inquiry was confined to
determining simply whether or not the committing court had been possessed
of j urisdiction. . . . But, over the years, the writ of habeas corpus evolved as
a remedy available to effect discharge from any confinement contrary to the
Constitution or fundamental law, even though imposed pursuant to conviction
by a court of competent jurisdiction. . . . Thus, whether the petitioner’s
challenge to his custody is that the statute under which he stands convicted is
unconstitutional . . . g that he has been imprisoned prior to trial on account of
a defective indictment against him . . . ; that he is unlawfully confined in the
wrong institution . . . ; that he was denied his constitutional rights at trial . . . ;
that his guilty plea was invalid . . . ; that he is being unlawfully detained by the
Executive or the military . . . ; or that his parole was unlawfully revoked,
causing him to be reincarcerated in prison . . . -in each case his grievance is
that he is being unlawfully subjected to physical restraint, and in each case
habeas corpus has been accepted as the specific instrument to obtain release
from such confinement

l_d at 485-86 (citations omitted); see also § at 487 (“[R]ecent cases have established that
habeas corpus relief is not limited to immediate release from illegal custody, but that the writ
is available as well to attack future confinement and obtain future releases.”).

Although there is some blurring of the lines between a habeas petition and an action
pursuant to 42 U.S.C. § 1983, this case does not approach that line. As the Seventh Circuit
explained:

For most purposes, the line between the domain of collateral review

and that of § 1983 is simple. State prisoners who want to challenge their

convictions, their sentences, or administrative orders revoking good-time

credits or equivalent sentence-shortening devices, must seek habeas corpus,
because they contest the fact or duration of custody. . . . State prisoners who

want to raise a constitutional challenge to any other decision, such as a

transfer to a new prison, administrative segregation, exclusion from prison
programs, or suspension of privileges, must instead employ § 1983 or another

Case 1:04-cv-01128-.]DT-STA Document 3 Filed 08/16/05 Page 4 of 8 Page|D 4

statute authorizing damages or injunctions_when the decision may be

challenged at all . . . . Legal rules, like physical surfaces, cause diffraction at

the edges . . . , but the exceptions (like the scattering of light) may be ignored

for most practical purposesl Prisoners who follow the rule stated in this

paragraph rarely will go wrong; those who ignore it rarely will go right.
Moran v. Sondalle, 218 F.3d 647, 650-51 (7th Cir. 2000) (per curiam) (citations omitted);
see also Carson v. Johnson. 1 12 F.3d 818, 820 (Sth Cir. 1997) (“Generally, § 1983 suits are
the proper vehicle to attack unconstitutional conditions of confinement and prison
procedures . . . A habeas petition, on the other hand, is the proper vehicle to seek release
from custody.”) (citations omitted). In this case, the petition does not challenge either the
fact or the duration of Hessmer’s confinement lt is, instead, limited to a challenge to the
conditions under which Hessmer is being confined, and, in particular, a claim that certain
restrictions imposed by his prison have restricted his access to the courts in violation of the
First Amendment. This is a matter that falls squarely under the purview of 42 U.S.C.
§ 1983. Hessmer seeks to avoid this result in his prayer for relief, which asks for a transfer
to a TDOC prison, rather than an order correcting the allegedly unconstitutional conditions
at his current prison (or an award of money damages). However, habeas corpus is not the
proper vehicle for demanding a transfer to another prison, or for protesting a scheduled

transfer. See Pischke v. Litscher, 178 F.3d 497, 499-500 (7th Cir. 1999) (habeas corpus not

the proper vehicle for a challenge by state prisoners to a transfer to a private prison).2

 

2 The Seventh Circuit recognized that state prisoners may have strategic reasons for preferring habeas to

§ 1933:
The Prison Litigation Reform Act, which applies to prisoners’ civil suits, imposes requirements
different from those of the Antiterrorism and Effective Death Penalty Act, which governs

4

Case 1:04-cv-01128-.]DT-STA Document 3 Filed 08/16/05 Page 5 of 8 PagelD 5

Because of the vastly different procedural requirements for habeas petitions and
§ 1983 actions, a court confronted with a habeas petition that is properly brought under
§ 1983 should dismiss the petition, rather than “converting” the petition to a § 1983 action.

Richmond v. Scibana, 387 F.3d 602, 606 (7th Cir. 2004)', Moran, 218 F.3d at 651. Because

 

it "plain|y appears from the face of the petition and any exhibits annexed to it that the
petitioner is not entitled to relief in the district court,” summary dismissal prior to service on
the respondent is proper. Rule 4, Rules Governing § 2254 Cases. Therefore, the petition is
hereby DISMISSED.

The Court must also determine whether the certificate of appealability requirement

applies to this action. The Statute provides:

 

collateral attacks on confinement, making it important to classify cases correctly . . . Prisoners

may be tempted to choose one route rather than another to avoid limitations Congress adopted

For examp|e, the filing fee for an action seeking a writ of habeas corpus is $5, while the fee to

commence a case under § 1983 is 8150 . . . , and the fee in a § 1983 case eventually will be

collected from the prisoner’s trust account under 28 U.S.C. § 1915(b) even if the prisoner cannot

pay in advance Frivolous actions count as “strikes” under § 1915(g), and a prisoner who has

accumulated three strikes must as a rule prepay the fees in all future civil actions, while collateral

attacks are not subject to limitation because of prior frivolous suits.
l\/loran, 218 F.3d at 649 (citations omitted). Apart from the significantly lower filing fee, there is some reason to
believe that Hessmer has incurred sufficient “strikes,” within the meaning of 28 U.S.C. § 1915(g), that he is no
longer eligible to take advantage of the installment-payment provisions of 28 U.S.C. § 1915(b) in connection with
§ 1983 suits. § Hessmer v. Dotson et al., No. 04-1049~T/An (W.D. Tenn. dismissed for failure to state a claim
and as frivolous Sept. 13, 2004); Hessmer v. Miranda et al., No. 3:03-cv-01 197 (M.D. Tenn. dismissed for failure
to state a claim Dec. 18, 2003); Hessmer v. State ofTennessee et al., No. 3:02-cv-00520 (M.D. Tenn. dismissed for
failure to state a claim May 28, 2002), ajj"’d, 56 Fed. Appx. 242 (6th Cir. Feb. 10, 2003); Hessmer v. Loweg, No.
3:01-cv-00332 (M.D. Tenn. dismissed for failure to state a claim Apr. 9, 2001), ajj“’d, 24 Fed. Appx. 492 (6th Cir.
Dec. 12, 2001).

Conversely, however, Hessmer has ignored the procedural requirements applicable to petitions pursuant to
28 U.S.C. § 2254, including the requirement that state prisoners first exhaust their claims in state court, as required
by 28 U.S.C. § 2254([))(1), and the limitations on second or successive habeas petitions contained in 28 U.S.C.
§ 2244(b). Hessmer has previously filed § 2254 petitionsl g Hessmer v. State of Tennessee1 No. 3 :02-cv~00726
(M.D. Tenn. filed July 29, 2002); Hessmer v. State of Tennessee` et al., No. 3:01-cv-00312(M.D. Tenn. filed Mar.
29, 2001).

 

 

 

Case 1:04-cv-01128-.]DT-STA Document 3 Filed 08/16/05 Page 6 of 8 PagelD 6

(1) Unless a circuit justice or judge issues a certificate of appealability, an
appeal may not be taken to the court of appeals from*

(A) the final order in a habeas corpus proceeding in which the
detention complained of arises out of process issued by a State
court; or

(B) the final order in a proceeding under section 2255.

(2) A certificate of appealability may issue under paragraph (1) only if the
applicant has made a substantial showing of the denial of a
constitutional right.

(3) The certificate of appealability under paragraph (1) shall indicate
which specific issue or issues satisfy the showing required by
paragraph (2).

28 U.S.C. § 2253(c); see also Fed. R. App. P. 22(b); Lvons v. Ohio Adult Parole Auth., 105

 

F.3d 1063, 1073 (6th Cir. 1997). No § 2254 petitioner may appeal without this certificate
However, as this action is not cognizable in a habeas petition, no certificate of appealability
is required in order for petitioner to appeal the dismissal of this case. m, 218 F.3d at
650;Wa1ker v. O’Brien, 216 F.3d 626, 637-39 (7th Cir. 2000).

'l`wenty-eight U.S.C. § 1915(a)(3) provides that an appeal may not be taken informer
pauperis if the trial court certifies in writing that it is not taken in good faith. Because these
claims plainly are not cognizable in a § 2254 petition, the Court determines that any appeal
would not be taken in good faith. lt is therefore CERTIFIED, pursuant to 28 U.S.C.
§ 191 5(a)(3), that any appeal in this matter by the petitioner is not taken in good faith.

The final matter to be addressed is the assessment of a filing fee if petitioner files an

appeal.3 ln McGore v. Wrigglesworth, 114 F.3d 601, 610-11 (6th Cir. 1997), the Sixth

 

Circuit set out specific procedures for implementing the Prison Litigation Ref`orm Act of

1995 (“PLRA”), 28 U.S.C. § 1915(a)-(b). The PLRA does not apply to appeals of orders

Case 1:04-cv-01128-.]DT-STA Document 3 Filed 08/16/05 Page 7 of 8 PagelD 7

denying petitions pursuant to 28 U.S.C. § 2254. Kincade v. Sparkman, 117 F.3d 949, 951
(6th Cir. 1997); M _\ALal]_<;c,;, 216 F.3d at 634 (“cases properly brought under §§ 2241
or 2254 as habeas corpus petitions are not subject to the PLRA”). However, where, as here,
a prisoner attempts to cloak an alleged civil rights violation as a habeas petition, “the district
court must assess the applicable appellate filing fee . . . under the McG_or_t_e procedures.”
M, 117 F.3d at 952. Therefore, the petitioner is instructed that if he files a notice of
appeal and wishes to take advantage of the installment procedures for paying the $255
appellate filing fee, he must comply with the procedures set out in M__cGB and
§ 1915(a)-(b).

453
IrIs so oRDEREDthiS 5 da ofAuguSr,zoos.
y

Q@VVMZ).M

JAM D. TODD
UNI D STATES DISTRICT JUDGE

  

UN1TED sATEs Ds1TR1CT C URT - wEsTER D1

 

   

SR1To

F TNNESSEE

     

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 1:04-CV-01128 was distributed by fax, mail, or direct printing on
August 17, 2005 to the parties listed.

 

.1 ohn Allen Hessmer
STSRCF-PIKEVILLE
3 14971

Route 47 Box 600
Pikeville, TN 37367

Honorable .1 ames Todd
US DISTRICT COURT

